                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

In re: PRIMARY PROVIDERS OF            )
       ALABAMA, INC.,                  )                        Case No.: 18-83207-CRJ-11
                                       )
      EIN: xx-xxx9960                  )
                                       )
             Debtor.                   )                        CHAPTER 11
 ______________________________________)

                    DEBTOR’S OBJECTION TO PROOF OF CLAIM OF
                     BECKMAN COULTER, INC. [CLAIMS DOC. 18-1]

        COMES NOW Primary Providers of Alabama, Inc. (the “Debtor”), and shows unto this
Honorable Court the following:

                                             Background

        1.      On October 26, 2018, the Debtor commenced with this Court a voluntary case
under Chapter 11 of Title 11, United States Code (the “Petition Date”).

        2.      This Court has subject matter jurisdiction to consider and determine this motion
pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue
is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      The Debtor is a corporation organized and operating under the laws of the State of
Alabama. The Debtor is engaged in the business of operating a physician medical clinic.

                              Proof of Claim 18-1 is 250 Days Tarty

        4.      The Debtor listed Beckman Coulter, Inc. (“BCI”) as notice party on its
bankruptcy petition filed on the Petition Date.

        5.      On December 6, 2019, this Court set January 31, 2019 as the claims bar date for
all creditors to file proofs of claim in this case [Doc. 38].

        6.      That same day, the Debtor gave notice to BCI of the claims bar date [Doc. 39].

        7.      BCI filed Proof of Claim 18-1 on October 8, 2019, 250 days past the claims bar
date. BCI has not sought leave of this Court to file a tarty claim.




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                                 Proof of Claim 18-1 is Disputed

       8.      The documents attached to BCI’s proof of claim indicate that its damages arise
from a breached equipment lease it entered into with Heritage Family Medicine.

       9.      The Debtor, its owners, and management are not owners, employees, or affiliates
of Heritage Family Medicine. Pre-Petition Date, the Debtor purchased some assets, including a
customer list, from Heritage Family Medicine, but did not assume the equipment lease upon
which BCI bases its claim for damages.

       10.     The Debtor is not in possession of BCI’s equipment.

       11.     The equipment lease attached to BCI’s proof of claim contains an anti-assignment
clause that would have prevented the Debtor from assuming that agreement without BCI’s
written consent (p. 23, ¶ 14).

       12.     BCI’s claim does not contain any assignment agreement between the Debtor,
Heritage Family Medicine, and BCI.

       13.     Accordingly, BCI’s proof of claim is improper; the Debtor’s objection is due to be
sustained.

       WHEREFORE, premises considered, the Debtor respectively requests this Court to enter
an Order: sustaining its objection to proof of claim 18-1; and granting such relief as this Court
deems just and proper.

       Respectfully submitted this the 14th day of October, 2019.


                                             /s/ Tazewell T. Shepard IV
                                             Tazewell T. Shepard III
                                             Tazewell T. Shepard IV
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                              CERTIFICATE OF SERVICE

       This is to certify that I have this the 14th day of October, 2019 served the foregoing
document upon the Debtor’s 20 largest unsecured creditors, Richard Blythe, Office of the
Bankruptcy Administrator, Beckman Coulter, Inc., Dept. CH 10164, Palatine, IL 60044, and all
persons requesting notice by electronic service through the Court’s CM/ECF system and/or by
depositing said copies in the United States Mail in properly addressed envelopes with adequate
postage thereon.

                                       /s/ Tazewell T. Shepard IV
                                       Tazewell T. Shepard IV




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